Case 1:17-cr-00232-EGS Document 198-3 Filed 05/07/20 Page 1 of 3




  EXHIBIT 2
      ~
       I          Case 1:17-cr-00232-EGS Document 198-3 Filed 05/07/20 Page 2 of 3



FD- I 057 (Rev. 5-8-10)



                            FEDERAL BUREAU OF INVESTIGATION
                                                    Eleotronic Communication


             Title: . . . Opening of the CROSSFIRE RAZOR                                Date:     08/16/2016
                         ion.


             From:




            Approved By:
                            .t:
                          NEW YORK




                                     -   .   -     - -   I


            Drafted By:


            Case l:D #:                                                    CROSSFIRE RAZOR
                                                             -            ENTS REGISTRATION ACT
                                                             RUSSIA;
                                                              SENSITIVE INVESTIGATIVE MATTER

           Synopsis:         1111111111          Opening EC for the CROSSFIRE RAZOR investigation.




           Full Investigation Initiated:                     08/16/2016

           Details:
                         The FBI is opening a full investigation based on
           -            able factual basis tha t reasonably indicates that
           CROSSFIRE RAZOR (CR) may wittingly or unwittingly be
            involved in activity on behalf of the Russian Federation
           which may constitute a federal crime or threat to the
           national securi t y. The FBI is predicating the investigation
           on predetermined criteria set forth by the CROSSFIRE
           HURRICANE investigative team based on an assessment of
           reliable lead information received during the course of the
           investigation. Specifically, CR has been c ited as an adviser
           to the Trump team on foreign policy issues February 2016; he
           has t i es t o v arious state-affiliated ent ities of the Russian


                                                                                      Declassified by FBI - C58W88B61
                                                                                      on 5/4/2020
                                                                                      This redacted version only
     Case 1:17-cr-00232-EGS Document 198-3 Filed 05/07/20 Page 3 of 3




                   Opening of the CROSSFIRE RAZOR investigation.
                   , 08/16/2016



Federation, as reported by open source information; and he
traveled to Russia in December 2015, as reported by open
source information. Additionally, CR has an active TS/SCI
clearance.

~ The goal of the investigation is to determine
~ e captioned subject, associated with the Trump
Team, is being directed and controlled by and/or
coordinating activities with t h e Russian Federation in a
manner which may be a threat to the national securi t y and/or
possibly a violation of the Foreign Agents Registration Act,
18 U.S.C section 951 et seq, or other related statutes.

~ As the captioned subject is prominent in a
~           olitical campaign, the FBI has categorized this
investigat ion as a sensitive investigative matter (SIM) and
considered the factors set forth in DIOG 10.1.3. Based on
the facts and circumstances provided to date, the FBI
believes that opening this investigation on captioned
subject is the least intrusive method to addressee the
serious national security ri sk posed by the activities
a l leged .




••




                                    2
